    Case 4:10-cv-04969 Document 98-1 Filed on 09/14/12 in TXSD Page 1 of 4




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

____________________________________
                                    )
ENVIRONMENT TEXAS CITIZEN           )
LOBBY, INC., and SIERRA CLUB,       )
                                    )
                Plaintiffs,         )                Civil Action No. 4:10-cv-4969
     v.                             )
                                    )
EXXONMOBIL CORPORATION,             )
EXXONMOBIL CHEMICAL COMPANY, )
and EXXONMOBIL REFINING AND         )
SUPPLY COMPANY,                     )
                                    )
                Defendants.         )
____________________________________)

     DECLARATION OF DAVID A. NICHOLAS IN SUPPORT OF
   PLAINTIFFS’ RESPONSE TO THE EXXONMOBIL DEFENDANTS’
              MOTION FOR SUMMARY JUDGMENT


I, David A. Nicholas, state as follows:


1. I am one of Plaintiffs' counsel. I make this declaration in support of Plaintiffs’

   Response to the ExxonMobil Defendants’ Motion for Summary Judgment. I

   have personal knowledge of all facts and statements attested to in this

   declaration. All exhibits to this declaration that were downloaded from the

   internet were downloaded on the date appearing at the bottom of the exhibit.

   They are accurate depictions of the contents of the web pages on which they
    Case 4:10-cv-04969 Document 98-1 Filed on 09/14/12 in TXSD Page 2 of 4




   appear. I have confirmed that all web page links I cite in this declaration are

   “live” links.

2. Attached as Exhibit 1 are true and correct copies of Exxon’s initial STEERS

   submissions for emission events from Exxon’s Olefins plant from July 21-23,

   2012, for emission events from Exxon’s Refinery from July 27, 2012, for

   emission events from Exxon’s Chemical plant from September 1, 2012, and for

   emission events from Exxon’s Refinery from September 11-16, 2012. These

   documents were all obtained from the State of Texas Environmental Electronic

   Reporting System (“STEERS”) database. All reports on the STEERS database

   are publicly available at http://www11.tceq.texas.gov/oce/eer/index.cfm.

3. Attached as Exhibit 2 are true and correct copies of excerpts from the

   deposition of Defendants’ expert, Jeff Civins, dated June 26, 2012, as provided

   by the Court reporter.

4. Attached as Exhibit 3 are true and correct copies of excerpts from Exxon’s

   permit application to expand the Baytown Olefins Plant, dated May 21, 2012.

   This document is publicly available at the U.S. EPA’s website at

   http://www.epa.gov/region6/6pd/air/pd-r/ghg/exxonmobil-baytown-olefins-

   app.pdf.




                                          2
    Case 4:10-cv-04969 Document 98-1 Filed on 09/14/12 in TXSD Page 3 of 4




5. Attached as Exhibit 4 is a copy of the complaint, filed October 11, 2005, in the

   lawsuit United States et al. v. Exxon Mobil Corporation and ExxonMobil Oil

   Corporation, Civil Action No. O5-C-5809 (N. D. Ill.).

6. Attached as Exhibit 5 is a true and correct copy of the full deposition of Jeff

   Kovacs, dated June 14, 2012, as provided by the Court reporter.

7. Attached as Exhibit 6 is a true and correct copy of Defendants’ Objections and

   Responses to Plaintiffs’ Requests. This document was produced by Defendants

   on February 27, 2012.

8. Attached as Exhibit 7 is a true and correct copy of Defendants’ Objections and

   Answers to Plaintiffs’ First Set of Interrogatories. This document was produced

   by Defendants on July 11, 2011.

9. Attached as Exhibit 8 is a true and correct copy of TECQ’s Regulatory Air

   Permit Guidance in Response to Hurricane Ike, dated Sept. 19, 2008. This

   document is also publicly available at

   http://www.tceq.state.tx.us/assets/public/response/storm/ike/air.pdf.

10. Attached as Exhibit 9 is a true and correct copy of the Consent decree, filed on

   January 10, 2011, in Environment Texas v. Chevron Phillips, 4:09-cv-02662

   (S.D.Tex.).




                                            3
    Case 4:10-cv-04969 Document 98-1 Filed on 09/14/12 in TXSD Page 4 of 4




11. Attached as Exhibit 10 is a true and correct copy of the expert report of

   Plaintiffs' Expert, Dr. Ranajit Sahu, dated March 13, 2012 (attachments not

   included). This document was produced by Plaintiffs during discovery.

12. Attached as Exhibit 11 is a true and correct copy of excerpts of the deposition

   of Shae Cottar, dated May 14, 2012, as provided by the Court reporter.

13. Attached as Exhibit 12 are summaries of Tables 6A through 6E, which are

   themselves summaries ofDeviation Reports (Docket Entries [76-10 through 76-

   14]).

14. Attached as Exhibit 13 is a true and correct copy of excerpts of the deposition

   of Christopher Buehler, dated June 21, 2012, as provided by the Court reporter.




I declare under the penalty of perjury, this 14th day of September, 2012, that the

foregoing is true and correct.
                                                        ~ (J            (____
                                                    David A. Nicholas




                                          4
